                                                                                           FILED
                                i, veri_fy, all herein be true ...                      OCT 1 4 Z016

                      'federal district court'                                       JULIE ROl§fJOH~.~.!fRK
                                                                                     BY
                                                                                         US     COURT, t:IJNI,;
                                                                                                         DEPCLK



                      OF THE UNITED STATES FOR EASTERN, NORTH CAROLINA


i, woman: Joyce Loney                              Nature of case: claim
                                                   Claim: tort trespass, TCPA violations
claim.ant, private prosecutor                      civil right violation,
                                                   causing harm and injury
                                                               (verified)
a, man: Steve Navo, CEO
and Bluestem Brands, INC
Respondent, wrongdoer

                                            "trial by jury"

                                i, require: court of record: magistrate

Claim: tort trespass, TCPA violations, civil right violation, causing harm and injury

                                     U.S. Const. Art. Vl, cl. 3.
                                        25 C.J. §§ 344; 346;
                                            2. Danv. 256
                        The bill of rights of the united States Constitution
                              3 BL. Comm. 378; Articles: VII; IX;
                                 The North Carolina Constitution



Notice
The Loney Court delivers notice:

i, an aggrieved woman, claim wrongdoers trespass by way of violating the Telephone Consumer
Protection Act ("TCPA"), 4?' U.S.C. § 227, et seq., by contacting Claimant through autodialed
and/or pre-recorded calls on her cellular telephone regarding a Bank of America debt collection
account, the calls continued after Claimant withdrew her permission for Bluestem Brands, Inc to
call her, at issue all calls were non- emergency, debt collection calls, other than their own without
prior express consent to receive such calls between February 1, 2014 and Jtily 25, 2016 these




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contacts deprived claimant of her civil rights. Causing tort trespass, TCPA violations, harm and
injury;

Wrongdoers had a campaign of harassment by telephone in an effort to collect on the missed
payments. Wrongdoers through its subsidiaries and agents, employs thousand of persons at call
centers throughout the country. These calling centers use automatic telephone dialing systems
and computerized account information to track, record and maintain the millions of consumer
debts serviced by the. wrongdoers.

Wrongdoers acted willfully or knowingly or both in calling numbers using an autodialer without
regard to the TCPA or whether the number was assigned to a cellular telephone

i, an aggrieved woman in all of my "good faith" efforts, wishes and demands to settle the matters
of controversy on the private side, have been met by way of silence,

i, now present and move my case in this venue, to have my suit tried before by a jury, for the
judges (the jury) to render its verdict based upon the merits of my case.

i, require compensation for the initial and continued trespass upon my rights; $500 for the first
call and $1,500 for each additional call, 30 plus calls were placed to me after cease and desist
letters of notification was delivered, and compensation of $100 per day from first telephone call
lmtil date settled. Payable, due forthwith and is to be paid in full within 21 days after wrongdoers
have been served this claim, to prevent further damages from accruing;

I, say here and will verify in open court that all herein be true.

                                       Respectfully submitted th~ day
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                                                  b~yce ~-(/
                                                  4956 Long Beach Road, SE
                                                  STE 14, PMB 362
                                                   Southport, NC 28461

                       VOID WHERE PROHIBITED BY LAW




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